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                       On termination of the Licensing Arrangement, Club Manager and Club Association
      will take whatever action is necessary to assure that the Club's reservation system is no longer
      associated with or identified with the Brand or Marks, and that no Brand or Mark is being used by Club
      Manager or Club Association or any of their agents, in connection with the reservation system. Further,
      Club Association shall take whatever action is necessary to assure that any materials related to the
      Brand or Marks in the possession of or under the control of the Club Association are immediately
      returned to Brand Owner and Club Association shall, or shall cause Club Manager at Club
      Association's expense to, remove all distinctive Brand features, including signage, and take all other
      actions (collectively, "De-identification Actions") required to preclude any possibility of confusion on
      the part of the public that the Reservation system or any pa.rt thereof are still associated or in any way
      identified with the Brand or Marks. If within thirty (30) days after termination of the Licensing
      Arrangement, Club Manager or Club Association fails to comply with this Paragraph, Brand Owner or
      its agents, at Club Association's expense and on Club Association's behalf, shall have the right to
      perfonn any and all De-identification Actions. The preceding sentence shall not in any way limit Brand
      Owner's rights or remedies with regard to any unauthorized use of the Brand or Marks.                                      .·

             27.      Excusable Delays. In the event that Club Manager is delayed or hindered in, or
     prevented from the performance of any act requirc:d under this Agreement by reason of strikes, lock-
     outs, labor troubles, inability to procure materials, failure of power, restrictive governmental Laws or
     regulations, riots, insurrection, war, act of God, or any other reason beyond Club Manager's control,
     then performance of such act shall be excused for the period of the delay, and the period for the
     performance of any such act shall be extended for a period equivalent to the period of such delay.

             28.     Reasonableness Standard for Consents. Under any circumstance in which this
     Agreement requires one party to consent to the actions of the other party, the party whose consent is
     required shall not withhold such consent unreasonably.

             29.      Plural and Include. Where the context so indicates, a word in the singular form shall
     include the plural. The term "include" and similar tenns ~ includes, including, included, comprises,
     comprising, such as, e.g., and for example), when used as part of a phrase including one or more
     specific items, are used by way of example and not of limitation.

     In Witness Whereof, the parties have executed this Agreement the day and date first above written.




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                                                  Fifth and Fifty-Fifth Residence Club Association Inc.




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                                                                                  February 9, 2006


   St. Regis Residence Club, New York Inc.
   c/o Starwood Vacation Ownership, Inc.
   880 I Vistana Centre Drive
   Orlando, Florida 32821


                  Re:       Fractional Offering Plan for the Sale of Club Interests in Club Units at
                            Fifth and Fifty-Fifth Condominium (the "Condominium")

   To Whom It May Concern:

          You have requested our opinion concerning (i) the deductibility, for Federal, New York
  State and New York City income tax purposes, of mortgage interest and real estate taxes paid by
  individual residents ofNew York who purchase Club Interests ("Club Interests") pursuant to the
  above-referenced Offering Plan (the "Plan"), and (ii) the income tax treatment to the Club
  Association and the Condominium Board of the assessments payable by Club Members as Club
  Charges and common expenses of the Condominium ("Common Charges").

         In connection with rendering this opinion, we have reviewed the Plan (including the
 exhibits thereto), the Condominium Offering Plan for the Sale of Suite Units at Fifth and Fifty-
 Fifth Condominium (the "Master Plan"), relevant sections of the Internal Revenue Code of I 986,
 as amended (the "Code"), the New York State Tax Law, the New York City Administrative
 Code, the Regulations promulgated thereunder and such other material as we deemed relevant.
 We have relied upon certain statements and representations contained in the Plan (including,
 without limitation, the characterization of the Club Interests) which we have neither investigated
 nor verified. We have assumed, that all such statements and representations are true, correct,
 complete and not breached, and that no actions that are inconsistent with such statements and
 representations will be taken.

          The opinions expressed herein are based upon the assumptions that: (1) each of the Plan
 and the Master Plan becomes effective and is consummated in accordance with its terms; (2)
 condominium ownership ofthe Club Units located in the premises known as Two East 55th
 Street is established under applicable law; and (3) the legal consequences of the Plan are as
 described therein. Except where otherwise indicated, the terms used in this opinion have the
 same meaning as in the Plan.

        The Master Plan describes the establishment of condominium ownership of the land and
 building, and appurtenances thereto, comprising Fifth and Fifty-Fifth Condominium, situated at
 Two East 55th Street, New York, New York. The Condominium will be comprised of Club


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          Units, Suite Units, a Hotel Unit, a Retail Unit and Common Elements. This opinion addresses
          certain ofthe Federal, New York State and New York City income tax consequences that would
          result from the ownership of a Club Interest by an individual resident ofNew York for use as a
          qualified residence, as described below. It does not address, among other matters, the tax
          consequences of ownership of Units other than Club Units in which the Club Interests are
          appurtenant by any person or entity, and does not address the tax consequences ofthe ownership
          of Club Interests by corporations, other entities or foreign persons or by an individual taxpayer
          who holds the Club Interest in connection with his or her trade or business, for investment or for
          the production of income.

          Deductibility of Mortgage Interest and Real Estate Taxes

                  We understand that each Club Member in respect of each Club Interest purchased will
          own a 4/52 undivided interest in a specific Club Unit as tenant-in-common with all other Club
          Members in that same Club Unit in fee simple. We further understand that (i) each Club Unit
          will be taxed as a separate tax lot for real estate tax purposes; and (ii) the Club Association will
          allocate total real estate taxes for all Club Units among Club Members as provided in the Plan.

                  Each Club Member will be required at closing to execute and deliver to the Club
          Association a Club Power of Attorney designating the Club Association for real estate tax
          purposes only as the "record owner" of the Club Unit. While the Club Association is the record
          owner of the Club Unit for real estate tax purposes, we understand that this is to facilitate the
          payment of real estate taxes and does not affect the fee ownership of the tenant-in-common
          interest ofthe Club Members.

                 Each Club Member may mortgage his or her Club Interest and become individually liable
         for the payment of the principal and any finance charges or interest on such mortgage
         indebtedness.

                 The Internal Revenue Service has ruled that the owner of a residential condominium unit
         who itemizes deductions in filing his or her Federal income tax returns may deduct interest paid
         on his or her mortgage indebtedness and the real estate taxes assessed and paid on his or her
         interest in the property. Rev. Rul. 64-31, 1964-1 (Part I) C.B. 300. In addition, the Tax Court
         has ruled that the proper test of whether a real property tax is deductible by the person that paid
         such tax is whether that person satisfied some personal liability or protected some personal right
         or beneficial interest in property. See, Powell v. Comm 'r, 26 TCM 161 ( 1967) (regarding the
         payment of real estate taxes where the property was held as a tenancy-in-common).

                 Based on the foregoing, and subject to the limitations expressed herein, it is our opinion      ....
         that each individual Club Member who itemizes deductions will be entitled under current law to
         deduct from his or her gross income for Federal, New York State and New York City income tax
         purposes, the amount paid by the Club Member to the Club Association in respect of real estate
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  taxes to the extent such amounts represent the Club Member's share of real estate taxes assessed
  agains_t the Club Unit in which the Club Member has a Club Interest and paid to the local
  authority, subject to an overall limitation on itemized deductions as set forth in section 68 of the
  Code and applicable New York State and New York City limitations. We express no opinion
  about a Club Member's ability to deduct from his or her gross income for Federal, New York
  State and New York City income tax purposes any other amounts paid by the Club Member to
  the Club Association in respect of, among other things, real estate taxes allocated to a Club
  Member by the Club Association in an amount other than as described above. No deduction for
  real estate taxes is permitted for purposes of the Federal alternative minimum tax. Club
  Members should consult their tax advisers regarding the tax consequences of the payment of the
  allocated real estate taxes, the applicability of the limitation on itemized deductions and the
  effect of the alternative minimum tax.

           A taxpayer generally is entitled to a deduction for Federal income tax purposes for
   interest paid during the taxable year on "acquisition indebtedness" or "home equity
   indebtedness" with respect to a "qualified residence" of the taxpayer. A "qualified residence"
  means the principal residence of the taxpayer and, in general, one other residence of the taxpayer
  selected by the taxpayer for the taxable year. "Acquisition indebtedness" means any
  indebtedness which is secured by any qualified residence of the taxpayer and which is incurred
  in acquiring, constructing or substantially improving the qualified residence (or which constitutes
  a refinancing thereof, to the extent that such indebtedness does not exceed the amount of the
  refinanced debt). The aggregate amount treated as acquisition indebtedness for any period
  carmot exceed $1,000,000 ($500,000 in the case of a married individual filing a separate return).
  "Home equity indebtedness" means any indebtedness (other than acquisition indebtedness)
  secured by a qualified residence, up to the excess of the fair market value of such qualified
  residence over the amount of acquisition indebtedness with respect to such residence. The
  aggregate amount treated as home equity indebtedness for any period cannot exceed $100,000
  ($50,000 in the case of a married individual filing a separate return). Accordingly, a Club
 Member who itemizes deductions and who uses the Club Unit in which such Member has a Club
 Interest as a qualified residence will be entitled, under current law, to deduct from his or her
 gross income, for Federal income tax purposes, subject to an overall limitation on itemized
 deductions as set forth in section 68 of the Code, interest paid by him or her on: (i) acquisition
 indebtedness incurred with respect to such Club Interest to the extent that such indebtedness,
 when added to the amount of acquisition indebtedness incurred with respect to his/her primary
 qualified residence, does not exceed $1,000,000 ($500,000 in the case of a married individual
 filing a separate return); and (ii) home equity indebtedness with respect to such Club Interest to
 the extent that such indebtedness, when added to the amount of home equity indebtedness
 incurred with respect to his/her primary qualified residence, does not exceed $100,000 ($50,000
 in the case of a married individual filing a separate return). Since the rules and limitations
 regarding the deductibility of home mortgage interest are complex, purchasers are urged to
 consult their tax advisers regarding the application of such rules to them, as well as regarding the
 deductibility of interest with respect to their Club Interests for alternative minimum tax purposes



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       (which at present is subject to rules different from those described above for regular tax
       purposes). In addition, Club Members should consult their tax advisers regarding potential
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       limitations on the deductibility of points and prepaid interest, if any, on their mortgage loans and
       on the overall limitation on the allowance of itemized deductions.

               Each Club Member who uses the Club Unit in which such Member has a Club Interest as
      a residence will generally be entitled to the same deduction for interest and real estate taxes paid
      or accrued with respect to such Club Interest for New York State and New York City income tax
      purposes as is allowed for Federal (regular) income tax purposes. However, under New York
      State and New York City income tax law, itemized deductions, such as interest and real estate
      tax deductions, are subject to further reduction by as much as 50% in the case of individuals
      having income exceeding certain prescribed levels. Furthermore, purchasers should consult their
      tax advisers to determine the application, if any, of the New York State and New York City
      minimum tax to the deduction for interest and real estate taxes with respect to their Club
      Interests.

      Common Charges

               Under the Master Plan, the Condominium Board will, from time to time, assess Common
      Charges against the Units and then allocate such assessment among the Unit Owners generally as
      set forth in the Condominium's By-Laws in order to pay the costs and expenses of operating,
      repairing, and maintaining the Common Elements. Under the Plan, the Club Association, a New
      York not-for-profit corporation, will, from time to time, assess Club Charges against Club
      Members to pay Club Expenses which include the Common Charges referred to above assessed
      against the Club Association with respect to Club Units.

              In certain circumstances, an organization (including a condominium board) may elect to
     be treated as a "homeowners association" within the meaning Code section 528(c) and, therefore,
     could elect to be exempt from Federal income tax on its exempt function income. The Club
     Association should be treated as a "timeshare association" and, as such, may be eligible to elect
     to be treated as a homeowners association provided that the other requirements of Code section
     528 are met. Among such requirements are that 60 percent or more of the gross income of the
     Club Association for the taxable year be exempt function income, and that 90 percent or more of
     the expenditures of the Club Association for the taxable year be expenditures for the acquisition,
     construction, management, maintenance, and care of association property. "Exempt function                '.    ..
     income" means amounts received as membership dues, fees, or assessments from Club Members                             ..•.
     in their capacity as such, if such amounts are used by the Club Association for qualifying                    ··.--.·
     purposes.
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             For any taxable year for which the Club Association elects to be treated as a homeowners         I      , ,-




     association under section 528, it will be subject to Federal taxation only on its homeowners                  . ..
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     association taxable income for such year. Such tax will be imposed at the rate of 32 percent. For

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   this purpose, "homeowners association taxable income" is defined as an amount equal to the
   excess (if any) of the gross income for the taxable year (excluding any exempt function income)
   over allowable deductions that are directly connected with the production of the gross income
   (excluding exempt function income). Such allowable deductions are computed with certain
   modifications, including the disallowance of the net operating loss deduction and special
   deductions otherwise allowable to corporations, including the deduction for dividends received
   and the amortization of organizational expenditures.

          If the Club Association does not qualify under section 528, it will be taxed as a
   corporation for Federal, New York State and New York City purposes.

           Since the Condominium Board wiH not be a timeshare association, in order to be eligible
  to elect to be treated as a homeowner's association under Code section 528, in addition to the
  requirements set forth above, substantially all of the Units of the Condominium must be used for
  residences. The Treasury Regulations promulgated under section 528 state that substantially all
  of the condominium units will be considered as used by individuals for residences if at least 85
  percent of the total square footage of all of the units within the project is used by individuals for
  residential purposes. Because less than 85 percent of the total square footage of all Units in the
  Condominium will be used for residential purposes, the Condominium Board will not be eligible
  to elect to be treated as a homeowners association under section 528 .

          The status of a condominium board for Federal, New York State and New York City
  income tax purposes is uncertain if the board does not qualify under section 528, as will be the
  case with respect to the Condominium Board. Absent the application of section 528, the present
  state of the law is uncertain as to the proper reporting and tax treatment of the income of the
  Condominium Board derived from Unit Owners ("membership income") and others
  ("nonmembership income") in excess of appropriate deductions and credits. It is possible that the
  Condominium Board could be viewed as an agent or conduit for Unit Owners in which case each
  Unit Owner would be required to report his or her proportionate share of nonmembership and
 possibly membership income (and the deductions attributable thereto) directly on his or her own
 tax return. Alternatively, the Internal Revenue Service may take the position that the
 Condominium Board should be treated as a separate entity. In that case, it is unclear whether the
 Condominium Board would be taxable as a corporation or treated as a partnership. If the
 Condominium Board is taxable as a corporation, it would be considered a separate taxpayer with
 respect to income and deductions and return filing requirements and would be subject to Federal
 corporate income tax, the New York State Corporation Franchise Tax and the New York City
 General Corporation Tax. If the Condominium Board is treated as a partnership, the Unit
 Owners (but not the Board) would be subject to Federal and New York State income tax on the
 taxable income of the Boards. In addition, in that instance the Condominium Board may be
 subject to the New York City Unincorporated Business Tax. In determining the taxable income
 of the Condominium Board, the Board's deductions attributable to furnishing services to Unit
 Owners may be limited to its membership income. Certain amounts expended for the benefit of



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           Unit Owners and possibly rebates, if any, to Unit Owners of excess membership dues, fees or
           assessments, may be treated as distributions to them.

                   We express no opinion concerning: (a) any Federal, New York State or New York City
           tax consequences not explicitly discussed in this opinion; (b) any other aspects of the Plan other
           than those consequences and aspects explicitly discussed in this opinion: or (c) the tax status and
           tax consequences of the Plan under the laws of any other state, local or foreign jurisdiction.
           Except as explicitly provided, this opinion does not address: (i) tax consequences which may
           result with respect to any Club Interests held in connection with a trade or business, or for
           purposes of investment or for the production of income; (ii) tax consequences which may result
          to a foreign Club Member by reason of his or her foreign status; (iii) tax consequences which
          may result from the purchase of a Unit other than a Club Unit in which Club Interests are
          appurtenant; or (iv) tax consequences which may result to a corporation or other entity which
          owns a Club Interest. This opinion also does not discuss the tax consequences which may arise
          if Club Interests, Common Elements or Hotel Limited Common Elements are acquired and/or
          leased by the Condominium Board or the Club Association or the issue of whether a Club
          Member may be deemed to be a resident of the United States, New York State, or New York
          City as a result of the ownership of a Club Interest and the attendant income, estate or other tax
          consequences. We advise, therefore, that each person contemplating the purchase of a Club
          Interest consult his or her own tax adviser concerning all such tax matters, as well as with respect
          to the matters discussed in this opinion.

                 It should be noted that this opinion is based solely on the facts and documents referred to
          above and is not binding on the Internal Revenue Service, the New York State Department of
          Taxation and Finance, or the New York City Department of Finance. Moreover, the Federal,                                 •
          New York State and New York City tax laws and regulations and the rulings and decisions
        · thereunder may change and thereby affect the opinions stated above in whole or in part. We
          undertake no obligation to update, modify or supplement this opinion in the event of any such
          change in applicable law, although we have advised Sponsor that it is obligated to do so during
          the pendency of the offering.

                 This opinion is not a guarantee; it is based on existing rules of law applied to the facts
         and documents referred to above. No assurances can be given that the tax laws upon which we
         base this opinion will not change. In no event will Sponsor, we, the Condominium Board, the
         Fee Owner, the Selling Agent, the Club Manager or any other person be liable if there are
         changes in the facts on which we relied in issuing this opinion or if there are changes in the
         applicable statutes, regulations, rulings or decisions on which we relied which cause the Club
         Members not to be entitled to the income tax deductions described above or which affect the tax
         treatment of the Club Association or the Condominium Board as described herein.

                Internal Revenue Service Circular 230 Disclosure. This opinion was written to
         support the promotion or marketing ofthe sale of Club Interests. To ensure compliance with
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    requirements imposed by the Internal Revenue Service, we are informing you that this opinion
    was not intended or written by us to be used, and caMot be used, by any taxpayer, including
    purchasers of Club Interests, for the purpose of avoiding tax-related penalties that may be
    imposed on the taxpayer under the Code. Purchasers of Club Interests should seek advice based
    on their particular circumstances from an independent tax advisor.

           We hereby authorize the use of this opinion, or a reproduction thereof, in the Plan and
   references to our name in the Plan.

                                                Very truly yours,


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                         APPLICATION TO THE ATTORNEY GENERAL
                              FOR A DETERMINATION ON THE
                             DISPOSITION OF DOWNPAYMENTS

             (Send this application to the reviewing attorney assigned to the subject plan.]


                         Re:
                                Address of Building or Name of Project

                                File Number: - - - - - - - - - - - - -
                Application is made to the Attorney General to consider and determine the
disposition of down payments held pursuant to GBL Sections 352-e(2-b) and 352-h. The following
information is submitted in support of this application.
1.      Name __________________________________________________________
        of Applicant
2.      Address ________________________________________________________
        of Applicant

3.      Name, Address, and Telephone Nwnber
        of Applicant's Attorney (if any)----------------------------------------




4.      This is an application for

                                D      return of downpayment.

                                D      forfeiture of downpayment.

                                D      other:



5.      The project is   0     a conversion of occupied premises.

                         0     newly constructed or rehabilitated.

                         0     vacant (as is).




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6.          The project is structured as

                                    0      a cooperative.

                                    0      a condominium.

                                    0      a homeowners association.

                                    0      a timeshare.                                         ..
                                    0      other:

7.          Name and Address
            of Sponsor:



8.          Name and Address
            ofEscrow Agent: - -- - - - - - - - - - - - -- - - - - - - - - -



9.          If downpayments are maintained in an escrow account:                                ·..
            (~      NameofAccount ___ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ __ _

            (b)     Name and Address
                    ofB~ ------------------------------------------------

            (c)     Account Number (if known) - - - - - - - - - - - - - - - - - - - - - - - -

            (d) ·   Initial interest rate (if known) - - - -- - - - - - - - - - - - - - -
10.         If downpayments have been secured by bonds:

            (a)     Name and Address of
                    Bond Issuer or S u r e t y : - - - - - - - - - - - - - - - - - - - - -



            (b)     Copy of bond included in this application. (DO NOT SEND ORIGINAL BOND.)       .   :
                    If not included, explain:




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 11 .    If downpayments have been secured by a Letter of Credit:

         (a)    Name and address of bank which issued the letter of credit: - - - - - - - -




         (b)    Date of expiration of the Letter of Credit, if known:



12.      Plan information:

         (a)    Dateoffilingofplan: - - - - - - - - - - - - - - - - - - - -
         (b)    Plan    0       has been declared effective.
                                Approximate d a t e : - - - - - - - - - - - - - - - - -
                        0       has not been declared effective.

        (c)     If effective, the plan

                        D       has closed or the first unit has closed.
                                Approximate date: - - - - - - -- - - - - - - - - -
                        0       has not closed.

                       D        don't know.

        (d)    Downpayments are secured by

                        0       escrow account.

                        D       bonds.

                        0       Letter of Credit.




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              13.     Contract infonnation:

                      (a)    Copy of contract and of all riders or modification letters are attached. (DO NOT
                             SEND ORIGINALS.)

                      (b)    Date on which subscription or
                             purchase agreement was signed: - - - - - - - - - - - - - - - - - -

                      (c)    Date(s) of downpayment(s): - - - - - - - - - - - - - - - - -

                     (d)     Total amount of downpayment(s): - - - - - - - - - - - - - - - -

                     (e)     Names and addresses of subscribers or purchasers affected by this application:




             14.     State the basis for your claim. Please be as specific as possible. You may add additional
                     sheets. Attach copies of any relevant documents.




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 15.     I am contemporaneously sending a copy ofthis application to the following persons:




Note: You are required to mail a copy ofthis Application to all other affected parties.

        In filing this Application, I understand that the Attorney General is not my private attorney,
but represents the public in enforcing laws designed to protect the public from unlawful business
practices. I also understand that if I have any questions concerning my legal rights or
responsibilities I may contact a private attorney. The above application is true and accurate to the
best of my knowledge. False statements made herein are punishable as a Class A Misdemeanor
under Section 175.30 and/or Section 210.45 ofthe Penal Law.

Signature: - - - -- - - - - - - - - - -                       Date: - - - - - - - - - - -

Name (Printed): - - - - - - - - -- - -

Telephone: (Home) - - - - - - - - - - -                       (Business) - - - - - - - - - -

Mailing Address: - - - - - - - - - - - - -




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                                          ESCROW AGREEMENT


         AGREEMENf made as of the filing date of the Offering Plan (defined below), between St. Regis
 Residence Club, New York Inc. ("SPONSOR") as sponsor of the Offering Plan and ("ESCROW AGENT')
 as escrow agent.

        WHEREAS, a fractional offering plan for prc:mises known as the Fifth and Fifty-Fifth Residence
 Club and located at Two East 55 111 Street, New York, New York ("Offering Plan") was filed by Sponsor;
 and

         WHEREAS, Leo Rose ill, Esq. is an attorney admitted to practice in the State of Georgia and is
 authorized to act as an escrow agent hereunder in accordance with General Business Law ("GBL'')
 Section 352-e(2-b) and the Attorney General's regulations promulgated thereunder; and

       WHEREAS, SPONSOR desires that ESCROW AGENf act as escrow agent for deposits and
 payments by purchasers, pursuant to the tenns of this Agreement and the Offering Plan.

         NOW, THEREFORE, in consideration of the covenants and conditions contained herein and
 other good and valuable consideration, the parties hereby agree as foiJows:

 1.      ESTABLISHMENf OF TIIE ESCROW ACCOUNT.

          1. 1  ESCROW AGENT has established a master escrow account for the purpose of holding
 deposits, downpayments, advances, payments or loan installments ("Deposits") made by purchasers
 ("Purchasers") pursuant to the Offering Plan at Wachovia Bank at its branch located at 540 Madison
 Avenue, New York, New York 10022 entitled "Leo Rose ill, Esq., Escrow lOLA Account" ("Master
 Escrow Account").

         1.2     All Deposits will be placed in the Master Escrow Account.

         1.3     Partners of ESCROW AGENf are the sole signatories on the Master Escrow Account.

         1.4     The Master Escrow Account is an lOLA account established pursuant to Judiciary Law
.section 497.

2.      DEPOSITS INTO THE ESCROW ACCOUNT.

          2.1    All funds received from Purchasers prior to Closing, whether in the fonn of checks,
 drafts, money orders, wire transfers, credit card slips, or other instruments which identify the payor, shall
be deposited or credited into the Master Escrow Account. All instruments to be deposited into the Master
Escrow Account shall be made payable directly to the: order of Escrow Agent. Endorsed instruments will
not be accepted. Any instrument payable other than as required hereby or in the Section of the Offering
Plan entitled "Escrow and Trust Fund Requirements", and which cannot be deposited or credited to the
Master Escrow Account, shall be returned to the Purchaser promptly, but in no event more-than ten (10)
business days following receipt of such instrument or notice to ESCROW AGENT that the instrument has
not been credited to the Master Escrow Account. In the event of such return of fwlds or failure to credit,
the instrument shall be deemed not to have been delivered to ESCROW AGENT pursuant to the terms of
this Agreement.




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        2.2    ESCROW AGENT shall notify the Purchaser of the deposit or crediting of funds in the
 Master Escrow Account in accordance with the Section of the Offering Plan entitled "Escrow and Trust
 Fund Requirements".

 3.      RELEASE OF FUNDS.

          3.1      ESCROW AGENT shall not release the Deposit of a defaulting Purchaser Wltil after
 consummation of the Offering Plan. Consummation of the Offering Plan shall not relieve SPONSOR of
 its fiduciary obligations pursuant to GBL Section 352-h.

          3.2     ESCROW AGENT shall continue to hold the Deposit in escrow Wltil otherwise directed
 in (a) a writing signed by both Sponsor and Purchaser or (b) a determination of the Attorney General or
 (c) a judgment or order of a court of competent jurisdiction or until released pursuant to the regulations of
 the Attorney General pertaining to release of escrowed funds.

         3.3      SPONSOR shall not object and will be deemed to have agreed, without the need for a
 written agreement, to the release of the Deposit to: (a) a Purchaser who timely rescinds in accordance
 with an offer of rescission contained in the Offering Plan or an amendment to the Offering Plan, or (b) all
 Purchasers after an amendment abandoning the Offering Plan is accepted for filing by the Department of
 Law.                                                                                                                       -·

        3.4     In the event SPONSOR and a Purchaser close titl4: under the Purchase Agreement,
 ESCROW AGENT shall be entitled to release the Deposit to SPONSOR without the need for a written
 agreement from Purchaser.

         3.5     Except as otherwise set forth above, if there is no written agreement between the parties
to release the Deposit, ESCROW AGENT shall not pay the funds to SPONSOR until ESCROW AGENT
has given the Purchaser written notice of not fewer than ten (1 0) business days. Thereafter, the Deposit
may be paid to SPONSOR unless the Purchaser has made application to the Department of Law pursuant
to the dispute resolution provisions contained in the Attorney General's regulations and ESCROW
AGENT has received notice from the Purchaser in accordance with such provisions.

4.      RECORDKEEPING.

        4.1      ESCROW AGENT shall maintain all records concerning the Master Escrow Account for
seven (7) years after release of the funds.

        4.2      Upon the dissolution of ESCROW AGENT, the former partners of the finn shall make
appropriate arrangements for the maintenance of these records by one of the partners or members of the
firm or by the successor firm and shall notify the Department of Law of such transfer.

        4.3     ESCROW AGENT shall make available to the Attorney General, upon request, all books
and records of ESCROW AGENT relating to the fWlds deposited and disbursed hereunder.

5.      GENERAL OBLIGATIONS OF ESCROW AGENT.                                                                     '.


        5.1     ESCROW AGENT shall maintain the Master Escrow Account under its direct
supervision and control.

     5.2  A fiduciary relationship shall exist between ESCROW AGENT and Purchasers, and
ESCROW AGENT acknowledges its fiduciary obligations.                                                                  ·:   ·.· .··.


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          5.3     ESCROW AGENT shall not be liable to SPONSOR for any error in judgment, mistake of
 fact or Law or for any act or omission on ESCROW AGENT'S part, including, without limitation, any act
 or omission which permits a Purchaser to rescind a Purchase Agreement, Wlless taken or suffered in bad
 faith or in willful disregard of this Agreement or involving gross negligence on the part of ESCROW
 AGENT.

         5.4     ESCROW AGENT shall be permitted to act as counsel for SPONSOR in any dispute as
 to the disbursement of the Deposit or any other dispute between SPONSOR and a Purchaser whether or
 not ESCROW AGENT is in possession of the Deposit and continues to act as ESCROW AGENT.

         5.5      ESCROW AGENT may rely upon any paper or document which may be submitted to it
 in connection with its duties under this Agreement and which is believed by ESCROW AGENT to be
 genuine and to have been signed or presented by the proper party or parties and shall have no liability or
 responsibility with respect to the form, execution or validity thereof.

         5.6     ESCROW AGENT may consult with legal counsel selected by it and the opinion of such
counsel shall be full and complete authorization and protection to ESCROW AGENT in respect of any
action taken or omitted in good faith by ESCROW AGENT hereunder in accordance with the opinion of
such counsel.

        5.7     The provisions of paragraphs 5.5 and 5.6 shall apply only to SPONSOR and nothing
contained therein shall be in derogation of the rights of a Purchaser under Article 23-A of the General
Business Law.

6.      RESPONSIBILITIES OF SPONSOR.

        6.1     SPONSOR agrees that SPONSOR and its agents, including any selling agents, shall
deJiver all Deposits (including checks and credit card slips) received by them prior to closing of an
individual transaction to a person designated by ESCROW AGENT within two (2) business days of
tender of the Deposit by a Purchaser, using such transmittal fonns as required by ESCROW AGENT
from time to time.

        6.2      SPONSOR agrees that it shall not interfere with ESCROW AGENT'S perfonnance of its
fiduciary duties and compliance with the Attorney General's regulations.

       6.3    SPONSOR shaJI obtain or cause the seJling agent under the Offering Plan to obtain a
completed and signed Form W-9 or W-8, as applicable, from each Purchaser and deliver such form to
ESCROW AGENT together with the Deposit and Purchase Agreement.

7.      TERMINATION OF AGREEMENT.

        7.1     This Agreement shall remain in effect unless and until it is cancelled by either:

                 (a)   Written notice given by SPONSOR to ESCROW AGENT of canceJiation of
designation of ESCROW AGENT to act in said capacity, which cancellation shall take effect only upon
the filing of an amendment to the Offering Plan with the Department of Law providing for a successor
escrow agent; or

                 (b)    The resignation of ESCROW AGENT upon giving notice to SPONSOR of its
desire to so resign. Such resignation shall take effect on the date set forth in the notice from ESCROW


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 AGENT, except such resignation shalJ take effect only upon the filing of an amendment to the Offering
 Plan with the Department of Law providing for a successor escrow agent with respect to Deposits held in
 the Master Escrow Account on the date of such resignation. Sponsor shall submit such amendment to the
 Department of Law within ninety (90) days following the date of resignation, failing which ESCROW
 AGENT shaJI be entitled to place the Deposits with a court of competent jurisdiction; or
                                                                                                           ..
                 (c)    all units offered by SPONSOR pursuant to the Offering Plan have been sold and
 no Deposits of Purchasers from SPONSOR remain in the Master Escrow Account.

         7.2     Upon termination of the duties of ESCROW AGENT as described in paragraph 7.1 (a) or
 (b) above, ESCROW AGENT shall deliver any and all funds held by ESCROW AGENT in escrow and
 any and all contracts or documents maintained by ESCROW AGENT relating to such funds to the new
 escrow agent.

 8.      SUCCESSORS AND ASSIGNS.

        This Agreement shall be binding upon SPONSOR and ESCROW AGENT and their respective
 successors and assigns.

 9.      GOVERNINGLAW.

       This Agreement shall be construed in accordance with and governed by the Laws of the State of
 New York.

 10.     ESCROW AGENT'S COMPENSATION.

         SPONSOR agrees to pay ESCROW AGENT for services rendered by its attorneys and legal
assistants and expenses incurred by ESCROW AGENT in connection with this Agreement, including,
without limitation, disputes arising with respec:t to the Deposit. ESCROW AGENT'S fees and
disbursements shall neither be paid by SPONSOR from the Deposit nor deducted from the Deposit by any
financial institution under any circumstance.

 11.     SEVERABILITY.

        If any provision of this Agreement or the application thereof to any person or circumstance is
determined to be invalid or Wtenfarceable, the remaining provisions of this Agreement or the application
of such provision to other persons or to other circumstances shall not be affected thereby and shaH be
valid and enforceable to the fullest extent pemtitted by Law.

12.     INDEMNIFICATION

         SPONSOR agrees to defend, indemnify and hold ESCROW AGENT harmless from and against
all costs, claims, expenses and damages incurred in connection with or arising out of this Agreement or
the perfonnance or non-performance of ESCROW AGENT'S duties under this Agreement, except with
respect to actions or omissions taken or suffered by ESCROW AGENT in bad faith or in willful disregard
of this Agreement or involving gross negligence of Escrow Agent. This indemnity includes, without
limitation, disbursements and attorneys' fees either paid to retain attorneys or representing the hourly
billing rates with respect to legal services rendered by ESCROW AGENT to itself.




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     13.     JURISDICfiON.

             By signing this Agreement, Escrow Agent hereby submits to the jurisdiction of the State of New
     York for any cause of action arising out of this Agreement. Escrow Agent shalJ comply with the rules for
     the preservation of client funds of the judicial department in Georgia having jurisdiction over Escrow
     Agent.

     14.     ENTIRE AGREEMENr.

              This Agreement, read together with GBL Section 352-e(2-b) and the Attorney General's
     regulations, constitutes the entire agreement between the parties with respect to the subject matter hereof.

              IN WITNESS WHEREOF, the undersigned have executed this Agreement as of the day and year
     first written above.

                                                      ESCROW AGENT:



                                                      By:    C). bJ?.
                                                             Leo Rose'fll:&q:


                                                      SPONSOR:

                                                      ST. REGIS RESIDENCE CLUB, NEW YORK INC.




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                                    DECLARATION


                      Establishing a Plan for Condominium Ownership
                       of the Premises known as Two East 55th Street
                                   New York, New York
                        Pursuant to Article 9·B of the Real Property
                               Law of the State ofNew York


Name

                      FIFTH AND FIFTY·FIFTH CONDOMINIUM
                                Two East 55th Street
                             New York, New York 10022

Fee Owner(s)

                             SLT PALM DESERT, L.L.C.
                        SLT REALTY LIMITED PARTNERSHIP
                         PRUDENTIAL HEI JOINT VENTURE
                               SLT ST. LOUIS, L.L.C.


Date of Declaration
                               _____ _             , 2006


                                      Block 1290
                                Lots 1201 through 1248
                                     (f/k/a Lot 69)

                                 Borough of Manhattan


                              When Recorded, Return to:

                         Kramer Levin Naftalis & Frankel LLP
                               Attorneys for Fee Owner
                            1177 A venue of the Americas
                            New York, New York 10036
                           Attention: Jay A. Neveloff, Esq.
                               Jonathan H. Canter, Esq.
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                                        DECLARATION

                                               OF

                        FIFTH AND FIFTY-FIFTH CONDOMINIUM


                      (Pursuant to Article 9-B of the Real Property Law
                                  of the State of New York)


                SLT Palm Desert, L.L.C., a Delaware limited liability company (as to a 10.7567%
tenant-in-common interest); SLT Realty Limited Partnership, a Delaware limited partnership (as
to a 63.5756% tenant-in-common interest); Prudential HEI Joint Venture, a Georgia general
partnership (as to an 11.3826% tenant-in-common interest); and SLT St. Louis, L.L.C., a
Delaware limited liability company (as to a 14.2851% tenant-in-common interest) (collectively,
"Fee Owner"), does hereby declare as follows:

                                          ARTICLEl

            SUBMISSION OF THE PROPERTY; DEVELOPMENT RIGHTS;
                         BY-LAWS; DEFINED TERMS

                 1.1   Fee Owner hereby submits the Land and Building (each as hereinafter
defined), all other improvements erected and to be erected thereon, all easements, rights and
appurtenances belonging thereto and aJI other real property intended for use in connection
therewith (collectively, the "Property"), to the provisions of Article 9-B of the Real Property
Law of the State ofNew York (as the same may be amended from time to time, the ''New York
Condominium Act") and pursuant thereto does hereby establish a condominium to be known
(subject to the provisions of this Declaration) as Fifth and Fifty-Fifth Condominium (the
"Condominium").

                 1.2 The Property includes that portion of the unused floor area development
rights that are now owned, subsequently acquired or that may become available under the
Zoning Resolution ofthe City ofNew York (the "Development Rights"), all ofwhich, however,
are hereby assigned and reserved to and sha11 inure to the benefit of the Hotel Unit and the Hotel
Unit Owner in all respects, which Development Rights may be utilized by the Hotel Unit Owner
or any other party acquiring the same from the Hotel Unit Owner (the "Development Rights
Purchaser") and merged into a zoning lot pursuant to the terms of a zoning lot development
agreement or similar agreement or instrument (a "ZLDA").

                1.3 Annexed to this Declaration as Exhibit A and made a part hereof are the
by-laws of the Condominium which set forth detailed provisions governing the operation, use
and occupancy of the Condominium (said by-laws, as the same may be amended from time to
time in accordance with the provisions hereof and thereof governing amendments, are
hereinafter referred to as the "Condominium By-Laws"; together with the Declaration, the
"Condominium Documents").
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                 1.4 All capitalized terms which are not separately defined herein (including
  any exhibits hereto) shall have the meanings given to such terms in the Condominium By-Laws.

                                              ARTICLE2

                                              THE LAND

                 Included in the Property described in Article 1 is all that certain tract, plot, piece
 and parcel of land described in Schedule A annexed hereto and made a part hereof (the "Land"),
 situate, lying and being in the City, County and State ofNew York. The Land is owned by Fee
 Owner in fee simple absolute and has an area of approximately 22,554 square feet.

                                             ARTICLE3

                                          THE PROPERTY

                3.1    Included in the Property described in Article 1 is a building (the
  "Building") containing, in addition to lobbies, hallways, corridors and other service, utility,                 _.
  mechanical and other miscellaneous areas:

                        (a)    24 units (collectively, the "Suite Units" and each individually, a
"Suite Unit"), located on the I o•h and lllh floors ofthe Building. The owner of a Suite Unit is
herein called a "Suite Unit Owner" and the owners of all Suite Units are herein collectively
called the "Suite Unit Owners". As set forth in Article 9 hereof, Fee Owner and the Suite
Sponsor shall each have the right to amend. the Declaration and Floor Plans (hereinafter defined)
so as to reclassify any one or more Suite Unit(s) as a Club Unit;

                        (b)     22 units (collectively, the "Club Units" and each individualJy, a
"Club Unit"), located on the 81h and 9lh floors of the Building. The owner of a Club Unit is
herein called a "Club Unit Owner" and the owners of all Club Units are herein collectively called
the "Club Unit Owners". As set forth in Article 9 hereof, Fee Owner and the Club Sponsor shall
each have the right to amend the Declaration and Floor Plans so as to reclassify any one or more
Club Unit(s) as a Suite Unit. In addition; Club Sponsor shall have those certain additional rights
with respect to the Club Units as are set forth in the Condominium Documents, including,
without limitation, in Article 27 below.

                        (c)    two commercial UI1lits, one ofwhich (the "Hotel Unit") is located
on portions of each floor (other than the s•h, 91h, 101hand 11th floors) of the Building, which, as of
the recording of this Declaration, is being operated as a hotel aild for purposes ancillary thereto;
with such Unit together with the appurtenant Hotel Limited Common Elements (herein defined)
herein referred to as the "Hotel Section" and the owner of the Hotel Unit is herein called the
"Hotel Unit Owner". The other of such two commercial units (the "Retail Unit") is located on
portions ofthe 151 and mezzanine floors ofthe Building, and as ofthe recording ofthis
Declaration, is being operated as luxury retail and ancillary space. The owner of the Retail Unit
is herein called the "Retail Unit Owner".

                3.2 The Hotel Unit and the Retail Unit are sometimes referred to herein
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individually as a "Commercial Unit" and together as the "Commercial Units"; and the Unit

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  Owners thereof are sometimes referred to herein individually as a "Commercial Unit Owner"
  and together as the "Commercial Unit Owners." The Hotel Unit, the Retail Unit, the Suite
  Unie& and the Club Units are sometimes referred to herein individually as a "Unit" and
  collectively as the "Units" and the owners thereof collectively as the "Unit Owners." The Suite
  Sponsor and the Club Sponsor are sometimes referred to herein individually as a "Sponsor" and
  together as the "Sponsors."

                  3.3 As of the date hereof, the street address of the entirety Property is Two
         1
 East 55 h Street, New York, New York 10022. For the avoidance of doubt, the Property does
 not include the parcels of land or the improvements now or hereafter existing or constructed
 thereon (or any rights appurtenant thereto), located at 14 East 55th Street, New York, New York
 and at 697 Fifth A venue, New York, New York, which properties are contiguous with the Land
 and are, as of the recording of this Declaration, owned by Fee Owner. The Property also
 expressly excludes, and the Hotel Unit Owner shall have sole and exclusive ownership of, all
 artwork, furniture, furnishings and other items of personalty located in the Hotel Limited
 Common Elements and ground floor Lobby as of the date hereof, other than the seating and
 tables in the ground floor Reception Area which shall be part of the Property (General Common
 Elements) of the Condominium. The furniture and other items of personalty located within the
 Hotel Unit~ the Retail Unit, the Suite Units and the Club Units, in each case, shall be the
 property of the applicable Unit Owner(s).

 /                                          ARTICLE4

                                          THE BUILDING

                 The Building is classified as being of fireproof construction and is constructed of
a combination of steel and concrete foundations, foundation walls, frames and slabs; concrete
encased steel beams and columns; with exterior walls of solid masonry construction and brick or
terra cotta or limestone in some locations, and roofs consisting of insulated roof membrane
assemblies. The Building has: (i) 19 floors (i.e., 18 floors plus an additional mechanical level)
above ground, consisting of a ground floor, second floor with a mezzanine, and floors 3 through
20 (with no 13 1h floor); and (ii) 3 floors below ground, consisting of a cellar, 151 subcellar and 2"d
subcellar.

                                            ARTICLES

                                           THE UNITS

                 5.1   The location of each Unit is shown on and is governed by the floor plans
ofthe Building certified by Brennan Beer Gorman Architects, LLP intended to be filed in the
New York County office of the Register of the City of New York (the "City Register's Office")
simultaneously with the recording of this Declaration (as the same may be amended from time
to time, the "Floor Plans"). Schedule B annexed hereto and made a part hereof sets forth the
following supplementary data with respect to each Unit necessary for the further proper
identification thereof: (i) Unit designation; (ii) tax lot number; (iii) approximate square foot
area; (iv) number of rooms/bathrooms (with respect to the Suite Units and Club Units only);
(v) proportionate undivided interest in fee simple absolute (expressed as a percentage) in the


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  Common Elements appurtenant to such Unit (the "Common Interest"); and (vi) approximate
  location in the Building.

                  5.2 Each Suite Unit includes, and each Suite Unit Owner shall be responsible
  for: the front entrance door and any other entrance doors to such Unit (provided, however, that
  the Hotel Unit Owner shall have all rights with respect to repair, replacement, improvement,
  decoration and maintenance of such doors to the Suite Units and all exterior portions (i.e.,
  facing any common areas) of such Units notwithstanding that the same shall constitute part of
  such Units, and aU such work shall be at the expense of the Suite Unit Owner in question),
  flooring, wall coverings, non-load bearing interior wa11s and partitions and sheet rock and
  plaster walJ covering, smoke detectors, all plumbing, gas and heating fixtures and equipment
  such as heating, ventilating and air conditioning ("HVAC") units (including the fans inside the
  units), as may be affixed, attached or appurtenant to such Unit and serving such Unit
 exclusively. Plumbing, gas and heating fixtures and equipment as used in the preceding
 sentence shall include exposed gas and water pipes from branch or fixture shut-off valves
 attached to fixtures, appliances and equipment and the fixtures, appliances and equipment to
 which they are attached (should such cutoff valves exist, and otherwise from the points of
 exposure), and any special pipes or equipment which may be installed by or on behalf of a Unit
 Owner within a wall or ceiling, or under the floor, but shaH not include gas, water or other
 pipes, conduits, wiring or ductwork within the walls, ceilings or floors. Each Suite Unit shall
 also include all lighting and electrical fixtures, cabinets, including, without limitation, pantry
 and bathroom cabinetry, countertops, and appliances within the Unit, and any special                            ·.
 equipment, fixtures or facilities • affixed, attached or appurtenant to the Unit by or on behalf of a
 Unit Owner (other than Fee Owner or the Suite Sponsor), to the extent located within a Suite
 Unit and serving or benefiting only that Unit. Notwithstanding anything contained in this
 Article to the contrary, each Suite Unit Owner wiJI have the right, subject to the Condominium
 Documents, any rights of the Fee Owner, the Sponsors and the Hotel Unit Owner, and the Rules
 and Regulations (as defined in the Condominium By-Laws), to install, at such Unit Owner's
 sole cost and expense, decorations, fixtures and coverings (including, without limitation,
 painting, finishing, wall to wall carpeting, pictures, mirrors, shelving and lighting fixtures) on

         As used herein, the words "facility" and "facilities" include, but are not limited to, the
 following fixtures, apparatus, equipment, personalty, appurtenances, installations, systems and
other items (grouped more or less functionally) which are set forth only for the purpose of
illustrating the broad scope of those terms: convector, raqiator, heater, convertor, heat exchanger,
mechanism, device, machinery, induction unit, fan coil unit, motor, pump, control, tank or tank
assembly, condenser, compressor, fan, damper, blower, thermostat, thermometer, coil, vent,
sensor, shut-off valve or other valve, gong, panel, receptacle, outlet, relay, alarm, sprinkler head,
electric distribution facility, wiring, wireway, switch, switchboard, circuit breaker, transformer,
fitting, siamese connection, hose, plumbing fixture, lighting fixture, other fixture, bulb, sign,
telephone, meter, meter assembly, scaffolding, piping, line duct, conduit, cable, riser, main,
shaft, soffit, pipe, pit, flue, lock or other hardware, rack, screen, strainer, trap, drain, catch basin,
leader, filter, incinerator, canopy, closet, cabinet, door, railing, coping, step, furniture, mirror,
furnishing, appurtenance, urn, carpeting, tile, marble or other floor covering, drapery, shade or
                                                                                                                      ..
other window covering, wallpaper or other wall covering, tree, shrubbery, flower or other
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plantings.


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 the surfaces of the walls, ceilings and floors that face the interior of such Unit Owner's Unit and
 to a depth of one inch behind such surfaces for the purposes of installing nails, screws, bolts and
 the like, provided that no such installation shall impair the structural integrity or fire rating and
 mechanical and electrical systems of such Unit or of the Building.

                  5.3 Each Club Unit includes, and, subject to Article 27 hereof, each Club Unit
  Owner shall be responsible for: the front entrance door and any other entrance doors to such
  Club Unit (provided, however, that the Hotel Unit Owner shall have all rights with respect to
  repair, replacement, improvement, decoration and maintenance of such doors to the Club Units
  and all exterior portions (i.e., faciiJ.g any common areas ).of such Units notwithstanding that the
  same shall constitute part of such Units, and all such work shall be at the expense of the Club
  Unit Owner in question), flooring, walJ coverings, non-load bearing interior walls and partitions
  and sheet rock and plaster wall covering, smoke detectors, all plumbing, (gas] and heating
 fixtures and equipment such as HVAC units (including the fans inside the units), as may be
 affixed, attached or appurtenant to such Club Unit and serving such Club Unit exclusively.
 Plumbing, [gas] and heating fixtures and equipment as used in the preceding sentence shall
 include exposed [gas] and water pipes from branch or fixture shut-off valves attached to
 fixtures, appliances and equipment and the fixtures, appliances and equipment to which they are
 attached, and any special pipes or equipment which may be installed subsequent to the
 recording of this Declaration within a wall or ceiling, or under the floor, but shall not include
 [gas], water or·other pipes, conduits, wiring or ductwork within the walls, ceilings or floors.
 Each Club Unit shall also include aU lighting and electrical fixtures, cabinets, including, without
 limitation, pantry and bathroom cabinetry, countertops, and appliances within the Unit; and any
special equipment, fixtures or facilities affixed, attached or appurtenant to the Unit by or on
behalf of a Unit Owner (other than Fee Owner or the Club Sponsor), to the extent located within
a Club .Unit and serving or benefiting only that Unit. The Club Units shall also include all
fixtures and coverings (including, without limitation, painting, finishing, wall to wall carpeting,
pictures, mirrors, shelving and lighting fixtures) on the surfaces of the walls, ceilings and floors
that face the interior of such Unit and to a depth of one inch behind such surfaces for the
purposes of installing nails, screws, bolts and the like, provided that no such installation shall
impair the structural integrity or fire rating and mechanical and electrical systems of such Unit
or of the BuiJding. To the extent provided in the Club Declaration, the Club Units, including all
items located within the Club Units, shall be maintained and repaired by the Club Board.

                  5.4 Each Commercial Unit includes, and each Commercial Unit Owner shall
 be responsible for: the entrance doors to such Unit, flooring, walJ coverings, non-load bearing
 interior walls and partitions and sheet rock and plaster wall covering, smoke detectors, all
 plumbing, gas and heating fixtures and equipment such HV AC units (including the fans inside
the units), as may be affixed, attached or appurtenant to such Unit and serving such Unit
exclusively. Plumbing, gas and heating fixtures and equipment as used in the preceding
sentence shall include exposed gas and water pipes from branch or fixture shut-off valves
attached to fixtures, appliances and equipment and the fiXtures, appliances and equipment to
which they are attached (should such cutoff valves exist, and otherwise from the points of
exposure), and any special pipes or equipment which a Unit Owner may install within a wall or
ceiling, or uti.der the floor, but shall not include gas, water or other pipes, conduits, wiring or
ductwork within the walls, ceilings or floors. Each Commercial Unit shall also include: all
lighting and electrical fiXtures, cabinets, including, without limitation, kitchen and bathroom

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       cabinetry, countertops, and appliances and appliances within the Unit, and any special
       equipment, fixtures or facilities affixed~ attached by the Unit Owner to the Unit or appurtenant
     . thereto, to the extent located within a Unit and serving or benefiting only that Unit, including,
       without limitation, all security systems and facilities serving or benefiting only such
       Commercial Unit. Each Commercial Unit shall also include aU escalators, stairs, if any, and all
      related facilities exclusively serving that Commercial Unit including outdoor signs for the
       Commercial Unit. Each Commercial Unit includes also the service lift(s) located therein
      together with all equipment related thereto. For the avoidance of doubt, the remaining elevators
      within the Building (and the equipment related thereto) are General Common Elements (subject,
      however, to the provisions of Article 15 hereof and Article 6 ofthe Condominium By-Laws
      with respect to the use of various of such elevators by one or more (but fewer than all) of the
      Unit Owners or categories of Unit Owners).

                         5.5    Without limitation, notwithstanding anything herein or in the
         Condominium By-Laws or the Floor Plans to the contrary, the Hotel Unit includes the vitrine
         display cases in the lobby area on the first floor and below-grade levels of the Building and
         shall have the right to all income therefrom. No income derived from any use of the vitrines
         (which shall constitute part of the Hotel Unit) will constitute income to the Condominium Board
         or any other Unit Owner.

                     5.6 The windows of any Unit opening to the exterior of the Building shall not
     constitute part of the Unit but shall be a General Common Element and, except as may
     otherwise be provided in this Declaration and by the Condominium By-Laws, shaH be the
     responsibility of the Condominiwn Board. Notwithstanding the foregoing, the windows and
     storefront(s) of the Retail Unit shall constitute part of such Unit and shall be the responsibility
     ofthe Retail Unit Owner.

                                                 ARTICLE6

                                            DIMENSIONS OF UNITS

                    The approximate square foot area of each Unit is measured horizontally on each
    floor from the interior side of the glazing or the exterior walls, at the Building line and/or
    Property line to the midpoint of the interior walls separating one unit from the other, or the
    public side of the interior walls separating a unit from public corridors, stairs, elevators and other
    mechanical equipment spaces or any Common Elements. Columns and mechanical pipes
    (whether along the perimeter or within the Unit) are not deducted from the square foot area of
    the Units. Measured verticalJy, each Unit will consist of the volume from the top of the floor
    slab below (located under the finished flooring and sub-floor materials) to the underside of the
    floor slab above. Any Common Elements located within or appurtenant to any Unit shall not be
    considered as part ofthat Unit. The method of measurement is applicable to all Units. The
    Condominium Board, Fee Owner, the Retail Unit Owner, the Hotel Unit Owner, and the Hotel
    Operator, the Suite Sponsor and the Club Sponsor (and their respective designees) will each have
    an easement to install and maintain pipes, conduits, wires, ducts and other facilities in the space
    between the underside of each such floor slab and the top surface of each Unit's finished ceiling,
    without any need to obtain the consent of any Unit Owner with respect to the same, except for

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 the Retail Unit Owner's obligations with respect to required consents and approvals from the
 Hotel Unit Owner as described in the Condominium Documents .

                                             ARTICLE 7

                                      COMMON ELEMENTS

                  7.1    The Common Elements of the Condominium (the "Common Elements")
  consist ofthe entire Property including the Land and all parts of the Building and improvements
  thereon other than the Units. The Common Elements are classified as General Common
  Elements and Hotel Limited Common Elements. The Common Elements do not include any of
  the Development Rights, all of which are assigned and reserved to and shall inure to the benefit
  of the Hotel Unit and the Hotel Unit Owner in all respects as set forth in Section 1.2 hereof.
  The Common Elements will remain undivided and no Unit Owner or other Person will bring or
  will have the right to bring any action for partition or division thereof except as may be
  specifically provided for herein and in the Condominium By-Laws.

                 7.2 The General Common Elements consist generally of the Land and all parts
 of the Building and the other improvements thereon other than the Units and the Hotel Limited
 Common Elements, and include generally, without limitation, those rooms, areas, corridors,
 spaces and other parts of the Building and all facilities located or contained therein for the
 common use ofthe Units and the Unit Owners (in each case, except as may otherwise be
 provided herein or on the Floor Plans) or which are necessary or convenient for the existence,
 maintenance, operation or safety of the Property· (in each case, except as may otherwise be
 provided herein or on the Floor Plans), together with any other portions and/or facilities of the
 Property that are designated on the Floor Plans as General Common Elements. Subject to the
 foregoing, the General Common Elements more specifically include:

                       7.2.1 the Land, together with all easements, rights and privileges
appurtenant thereto (except as otherwise expressly reserved to Fee Owner or to certain Unit(s) or
Unit Owner(s) as set forth in Article 15 hereof or otherwise);

                       7.2.2 all structural elements, foundations, foundation walls, main roof,
footings, columns, girders, beams, supports, interior load-bearing walls, floor slabs and ceilings;

                        7.2.3 all structures on the roof, including without limitation, the cooling
towers together with the structure(s) provided for the cooling towers and water storage tank (but
excluding, without limitation, any equipment, wiring and devices located thereon and not owned
by Fee Owner as of the date of recording of the Declaration or thereafter installed or placed
thereon by or on behalf of Persons other than the Condominium Board for the benefit of all Unit
Owners, including without limitation, any Roof Telecom Platform(s) (and any equipment located
or placed thereon or in connection therewith) as set forth in Article 15 hereof);

                          7.2.4 those specific rooms, areas, halls, passages and corridors, landings,
lobbies, stairs, fire stairs, areas and spaces (including their respective floors, ceilings and
enclosing walls) shown on the Floor Plans as part of the General Common Elements (expressly



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        excluding, however, any of the same which are specifically described part of a Unit or the Hotel
        Limited Common Elements);

                                7.2.5 all elevators together with the elevator cabs, overruns, bulkheads,
       shafts, pits, tanks, pumps, motors, fans, compressors, control and other related equipment and
       facilities in connection therewith, the walls of such elevator shafts (but excluding the four lifts
       located within and serving the Commercial Units (together with the cabs, overruns, bulkheads,
       shafts, pits, tanks, pumps, motors, fans, compressors, control and other related equipment and
       facilities in connection therewith) which are shown in each case on the Floor Plans as, and shall
       constitute part of, the applicable Commercial Unit);

                              7.2.6 ventilation supply system consisting of pumps, motors, ductwork,
       fans and controls, steam and condensate return piping;

                              7.2. 7   hot water, chiller and condenser water systems;

                             7.2.8 all enclosing walls and doors and all mechanical equipment and
       associated piping and controls and all utilities and mechanical and electrical transfers and
       equipment serving or benefiting all or any combination of the Units;

                             7.2.9 all electrical risers, feeders, lines and equipment, including
      incoming service, main switchgear and distribution panelboards, conduits, wires, meters,
      transformers and panelboards, excluding, however, all such items located within a Unit and
      serving only that Unit (in which case they shall be deemed part of such Unit) or which are
      otherwise part of the Hotel Limited Common Elements;

                             7.2.1 0 all plumbing fixtures, equipment for the distribution of cold water
      and equipment for producing and distributing hot water and chilled water (including pumps,
      valves, pressure reducers, meters and water heaters and chillers), excluding, however, all such
      items located within a Unit and serving only that Unit (in which case they shall be deemed part
      of such Unit) or which are otherwise part of the Hotel Limited Common Elements;

                               7.2.11 all storm and sanitary sewer equipment and pipes (including vent
      lines, ejectors, interceptors, filters and v~lves), excluding, however, all such items located within
      a Unit and serving only that Unit (in which case they shall be deemed part of such Unit) or which
      are otherwise part of the Hotel Limited Common Elements;

                             7.2. 12 all steam service rooms, electric service rooms, gas and water
      meter rooms, generator rooms, building storage rooms, washrooms, locker rooms, telephone
      rooms and other service, mechanical and utility rooms serving or benefiting all or any
      combination of the Units, excluding, however, all such items located within a Unit and serving                      ··,
      only that Unit (in which case they shall be deemed part of such Unit) or which are otherwise part
      of the Hotel Limited Common Elements;                                                                   . ..  ·~ ·




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                            7.2 .13 all emergency generator rooms, elevator pit/runbys, compactor
      rooms, uniform rooms, workshops, maintenance storage, maintenance offices, locker rooms,
      engine room, pump room, electrical vault and all mechanical equipment serving same and ,
      excluding, however, all such items located within a Unit and serving only that Unit (in which

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 case they shall be deemed part of such Unit) or which are otherwise part of the Hotel Limited
 Common Elements;

                         7.2.14 all loading dock/receiving areas, freight/serv il ce entrances, egress
 stairs and corridors and all associated mechanical equipment serving same; and the exterior
 space at the Building entries consisting of any stairs, railings, lighting and other electrical
 equipment, marquees and ornamental fixtures, planters and other freestanding structures;
 excluding, in all instances, such of these as only serve a Commercial Unit or Commercial Unit
 Owner, and further excluding all such items located within a Unit and serving only that Unit (in
 which case they shall be deemed part of such Unit) or which are otherwise part ofthe Hotel
 Limited Common Elements;

                      7.2. I 5 with respect to the rooftop, egress stairs, elevator machine rooms,
 house tank rooms and their enclosing walls and doors and all mechanical equipment serving
 same;

                       7.2.16 cable television system (excluding, however, the main telephone
 switch and related equipment serving the Building which shall be part of the Hotel Unit and not a
 General Common Element);

                         7.2.17 all smoke detection alarm systems and any other fire or other life
safety systems, and all security monitors, equipment and other security facilities which monitor
the I 51 floor and other areas of the Building, in each case other than any such systems monitoring
only a single Unit (which shall be deemed part of such Unit);

                        7.2.18 the installations, equipment, apparatus, facilities, exterior walls,
interior walls, doors, partitions, floors, roofs, ceilings, hallways, lobbies, corridors and vestibules
that enclose or service any one of the Units, to the extent not shown on the Floor Plans as part of
the Hotel Limited Common Elements;

                      7.2. I 9 the exterior service elevator (used to transport waste and other
items to/from the below grade levels of the Building) located in and under the East 55th Street
sidewalk; and

                        7.2.20 all other parts, systems, installations and facilities of the Property
(whether or not specifically identified as part ofthe General Common Elements (or identified at
all)) on the Floor Plans, either existing for the common use of all or any combination ofthe Units
or Unit Owners or that serve or benefit or are necessary or convenient for the existence,
maintenance, operation or safety of the Property as a whole or all or any combination of the
Units, excluding, however, all such items located within a Unit and serving only that Unit (in
which case they shall be deemed part of such Unit) or which are otherwise part of the Hotel
Limited Common Elements.

                7.3 The Hotel Limited Common Elements consist generally of those portions
of the Common Elements which exclusively serve or exclusively benefit the Hotel Unit whether
or not designated as Hotel Limited Common Elements (or designated at all) on the Floor Plans
(but excluding any items therein or in the Building which are not part of the Property, including,
without limitation, any equipment, wiring and devices owned by telecom providers or any area

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            or item designated herein or in the Floor Plans as part of the General Common Elements or any
            Unit), together with any other portions and/or facilities of the Property identified herein or
            designated on the Floor Plans as Hotel Limited Common Elements. Subject to the foregoing,
            the Hotel Limited Common Elements more specifically include:

                                  7.3.1 those certain entrances (and the doors thereto and/or thereof),
           service entrances and accessways to service elevators, hallways, passages, corridors, areas and
           spaces (including their respective floors, ceilings and enclosing walls) shown on the Floor Plans
           as Hotel Limited Common Elements;

                                   7.3 .2 all hallways, passages, corridors, lobbies, landings, areas and
           spaces on all floors (above the ground floor) connecting the General Common Element elevators
           and any Suite Unit, Club Unit and/or portion of the Hotel Unit and not part of any Unit, all as
           more specifically set fortl1 on the Floor Plans;

                                 7.3.3 all housekeeping closets, pantries, maids' rooms and laundry
           chutes as more specifically set forth on the Floor Plans; and

                                 7.3.4 all other systems, installations and facilities of the Building which
          exclusively serve or benefit or are necessary or convenient for the existence, maintenance,
          operation or safety ofthe Hotel Unit.

                          7.4 In the event of any conflict between the general terms of this Article and
           the more specific designations of the portions of the Property as shown on the Floor Plans, the
           Floor Plans shall in all events control.

                                                        ARTICLES

                                        USE OF UNITS AND COMMON AREAS
                                                                                                                        •
                          8.1        Use of Suite Units and Club Units.

                                  (a)     The Suite Units and the Club Units may be used and occupied only
           in accordance with applicable Laws (as defmed below), including, without limitation, the
          requirements and limitations of the applicable certificate of occupancy covering such Units and
          to the further provisions of this Declaration, the Condominium By-Laws and the Rules and
          Regulations. As of the date of recording of this Declaration, the certificate of occupancy
          covering such Units classifies them as Class 5 Hotel Rooms (as defined in the Zoning
          Resolution) and, accordingly, the same may be used and occupied for transient and long-term
          stays and for no other purpose (including as prohibited uses, without limitation, any home
          occupation or as a medical or professional office), subject, hqwever, to the Primary Residence       ,.       ;·
          Prohibition. The "Primary Residence Prohibition" means that no Suite Unit or Club Unit may be
          used as a Primary Residence unless such Unit is, by means of a change in the certificate of
          occupancy therefor and compliance with all other Laws, converted to a Use Group 2, Class A
                                                                                                               .' .
          unit (as defined in the Zoning Resolution). As used herein, ''Primary Residence" means a
          residence that is occupied by any individual natural person in excess of 182 days in any calendar
          year. No Suite Unit or Club Unit may be converted to Use Group 2, Class A without: (i) the               •   . .
          consent of each of the Condominium Board and the Hotel Unit Owner (which consent(s) may be

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 granted or withheld in each such party's sole discretion); and (ii) compliance with all Laws
 (including, without limitation, the New York State Multiple Dwelling Law). As used in this
 Declaration and in the Condominium By-Laws, "Laws" means: all applicable laws, statutes and
 ordinances (including, without limitation, environmental laws, and all building codes and zoning
 ordinances) and the orders, rules, regulations, directives, binding resolutions and requirements of
 all Governmental Authorities, whether in force as of the date hereof or hereafter, which are or
 become, or purport to be, applicable to the Property or any part thereof; "Governmental
 Authority(ies)": means the United States ·of America, the State ofNew York, The City ofNew
 York and any agency, department, commission, board, bureau, instrumentality, public authority
 or agency (whether governmental or quasi-governmental) or political subdivision of any of the
 foregoing, now existing or hereafter created (including, without limitation, the New York City
 Department of Buildings, the City Planning Corrunission and the boards of fire underwriters)
 having jurisdiction over the Property or any portion thereof.

                       (b)      Unless otherwise consented to in writing by the Hotel Unit Owner
or the Hotel Operator, no Suite Unit or Club Unit may be occupied by any Person under 18 years
of age unless an adult is also occupying such Unit at such time.

                        (c)     Unless specifically provided for in the Condominium Documents,
 no Suite Unit or Club Unit may be used in fact or in effect as part of or in furtherance of an
 Occupancy Plan (as defined below). For purposes of the foregoing requirement, an "Occupancy
Plan" means a program, plan, agreement or other arrangement for the use, occupancy, marketing,
advertising or promotion of one or more Units, including Suite Units or Club Units, under any
timeshare or fractional plan, residence, destination or luxury club, equity or non-equity program,
interval exchange (whether the program is based on direct exchange of occupancy rights, cash
payments, reward programs or other point or accrual systems) or other membership plans or
arrangements through which a participant in the plan or arrangement acquires the right to use and
occupy such Unit(s) or a portfolio of accommodations including such Unit(s). The foregoing
prohibitions shall not apply to Suite Units or Club Units that are owned or leased by, or any
Occupancy Plan that is operated by, the Suite Sponsor, the Club Sponsor, the Hotel Unit Owner,
the Hotel Operator or their affiliates.

                         (d)     Each Suite Unit Owner and Club Unit Owner shall iodemnity,
defend and hold Fee Owner, the Suite Sponsor, the Club Sponsor, the Condominium Board, the
Managing Agent, the Retail Unit Owner, the Hotel Unit Owner and the .fiotel Operator and all
other Unit Owners harmless from and against any liability, loss, cost, or expense arising from
any violation of the foregoing provisions of this Section 8.1, and from and against any and all
loss, cost, expense (including, but not limited to, attorneys' fees and disbursements), damage,
injury or liability, whether direct, indirect or consequential, resulting from, arising out of, or in
any way connected therewith.

                       (e)     Subject to the foregoing provisions ofthis Section 8.1, Suite Units
and Club Units may be owned or leased by an individual, corporation, partnership limited
liability company, fiduciary or any other entity (including, but not limited to, embassies and
consulates of foreign governments). Suite Units and Club Units may only be leased in
accordance with the Condominium By-Laws and the Rules and Regulations.



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                          (f)    Notwithstanding the foregoing (including, without limitation,
  Section 8.1 (a)) or anything contained herein, in the Condominium By-Laws or the Rules and                ..
  Regulations to the contrary, Fee Owner, the Suite Sponsor, the Club Sponsor, the Hotel Unit
  Owner and the Hotel Operator may, without the permission of the Condominium Board or any
  other Unit Owner, use or grant permission for the use of any Unsold Unit (hereinafter defined)
  owned by such party or an affiliate thereof for any lawful purpose, including, but not limited to,
  as models and sales and/or promotion offices in connection with the sale or rental of the Units or
  for any other purpose, subject only to compliance with all Laws applicable to any such use.

                   8.2    Use of Commercial Units. The Commercial Units may be used, occupied
   and operated for any legaiJy permitted purpose, including, without limitation, retail, hotel,
   restaurant, banquet, banking, commercial, public event, residential, fractional or club ownership,
  office, storage, garage and utility purposes. The Hotel Unit Owner shall also have the right to
  subdivide and combine portions of the Hotel Unit and to create therefrom additional Suite Units
  and Club Units and to amend the Declaration and Floor Plans as may be necessary in connection                 .·
  therewith. No income derived from any use of the Commercial Units will constitute income to
  the Condominium Board or any other Unit Owner. Notwithstanding the foregoing, the Retail
  Unit may not be used for any purpose other than as luxury retail space except with the consent of
  the Hotel Unit Owner (which consent may be granted, withheld or conditioned in the Hotel Unit
  Owner's sole discretion).

                  8.3   Use ofthe Common Elements.

                          (a)     Except as otherwise provided in this Declaration or the
  Condominium By-Laws: (i) the Common Elements may be used only for the purpose of
  providing reasonable access to and from the Units and the furnishing of the services and facilities
  to the Units and for the other uses for which they are reasonably suited. In addition, without
  limiting the foregoing, the Hotel Unit Owner may use the Common Elements in connection with
  the ownership and operation of the Hotel Unit and for the provision of services ancillary to, and
  for purposes of enabling the Hotel Unit Owner or its designee to operate a transient hotel at the
  Property provided the same do not unreasonably restrict the use of any other Unit for their
· permitted purposes and/or unreasonably impair or unreasonably impede the rights of the Unit
  Owners of such other Units; and (ii) the Terraces are decorative only and, subject to Article 15
  hereof, may not be used by the Unit Owners or occupants of the Suite Units or Club Units which
  are adjacent to any such Terrace or otherwise.

                       (b)     No nuisance shall be allowed in the Property nor shall any use or
practice be allowed in the Property which interferes with the peaceful possession or proper use
thereof by the Unit Owners or the occupants of their respective Units. No improper, offensive or
unlawful use shall be made ofthe Property or any portion thereof. All Laws relating to any
portion of the Property shall be complied with, except as otherwise herein and in the                       .'.
Condominium By-Laws provided, at the sole expense of whichever of the Unit Owners or the
Condominium Board shall have the obligation pursuant to the Condominium By-Laws or this
Declaration to maintain or repair such portion of the Property.

                     (c)     No use by any Person of any portion ofthe Property shall be
permitted which would result, or be reasonably expected to result, in the suspension or                     f     •   ·~




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